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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                        )

                                                )
                v.
                                                )             Case No. 5:24-cr-00097-TPB-PRL-1

DANIEL BALL,                                    )

                       Defendant.               )

          DEFENDANT BALL’S MOTION FOR ARRAINGMENT IN ABSTENTIA
                       AND TO COMPEL DISCOVERY

         Daniel Ball, by and through undersigned counsel, respectfully requests for this Honorable

Court to schedule an arraignment in the above-listed matter to take place in December 2024 (other

than on December 17th-20th or December 24th-26th) or January 2025 (other than on January 10th,

January 17th, or January 20th-21st), to waive the appearance of Mr. Ball at the arraignment, and to

enter an order compelling the government to produce all discoverable materials and information

in this matter by January 1, 2025. In support of this Motion, counsel submits the following:

         1.     On April 27, 2023, Mr. Ball was charged by complaint in the U.S. District Court

for the District of Columbia. See United States v. Ball, No. 1:23-cr-00160-RC-1 (D.D.C.), ECF

No. 1.

         2.     On May 2, 2023, Mr. Ball was arrested by agents with the Federal Bureau of

Investigation. See ECF No. 5. Mr. Ball has been in custody in relation to his case before the U.S.

District Court for the District of Columbia ever since. He is currently being held at the D.C.

Correctional Treatment Facility (“CTF”).

         3.     On May 10, 2023, a grand jury returned an indictment against Mr. Ball in the U.S.

District Court for the District of Columbia. See ECF No. 5.



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         4.       Mr. Ball rejected an arguably unconstitutional plea offer advanced by the U.S.

Attorney’s Office (“USAO”) for the District of Columbia. 1 Not long after, we provided notice to

the government that Mr. Ball was going to be advancing a selective prosecution argument in his

Motion to Dismiss.

         5.       Shortly after, the USAO for the District of Columbia represented that the USAO

for the Middle District of Florida was considering indicting Mr. Ball in some capacity, including

under 18 U.S.C. § 922(g)(1). Defense counsel brought the government’s representation to the

attention of the Court during a status conference on May 3, 2024.2

         6.       About one month later, on August 6, 2024, a grand jury in the Middle District of

Florida returned an indictment against Mr. Ball charging one count of Felon in Possession, under

18 U.S.C. § 922(g)(1).3

         7.       The USAO for the Middle District of Florida represented that it is unable to

“accommodate” our request for the production of discovery in this matter in a pre-arraignment

posture. Email from AUSA William Hamilton to Amy C. Collins on Nov. 25, 2024. However, the

government further provided: “Please feel free to file any motion to compel you wish.” Id.




1
  The USAO for the District of Columbia has represented orally and in writing that the justification for its decision on
the charges brought and the plea offer extended (which we believe are examples of disproportionately severe treatment
of Mr. Ball as compared to similarly situated defendants) was the representations Mr. Ball made during his custodial
interrogation that it found offensive, such as statements were he took issue with the current presidential administration.
Just last month, following arguments on the sincere concerns about the government’s unconstitutional and unethical
conduct in the D.C. case (including the government’s failure to produce Brady material/information) and the prejudice
that may result by resolving the D.C. case prior to the instant case, the D.C. District Court vacated all dates and asked
for a comprehensive briefing setting forth all instances of government misconduct in Mr. Ball’s case. See Minute
Entry (Oct. 29, 2024).
2
     The     transcripts   for    the    May     3,    2024     status    hearing    have    been     requested.
3
  Not long after the indictment was returned, defense counsel reached out to AUSA William Hamilton to share
concerns over the basis of the Felon in Possession charge, especially because the U.S. Attorney’s Office for the
District of Columbia possesses materials that indicate the instant charge is meritless, see Email from Amy C.
Collins to AUSA William Hamilton on Sept. 4, 2024, and representations were made to indicate the two
respective USAOs were in communication.


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           8.       Under the Speedy Trial Act, trial must commence within 70 days from the date the

indictment was filed or from the date the defendant appears before an officer of the court in which

the charge is pending, whichever is later. See 18 U.S.C. § 3161(c)(1). In the current procedural

posture, the Speedy Trial Act is not affording Mr. Ball protection from delay, which is a sincere

concern given that the government waited over a year to even seek to indict Mr. Ball in what

should theoretically be a straight-forward case due to the nature of the offense.

           9.       Moreover, in the current procedural posture, Mr. Ball is not on a path to obtain an

outcome in the instant case prior to the resolution of the case before the U.S. District Court for the

District of Columbia. If Mr. Ball is not able to resolve the instant matter first, Mr. Ball will likely

be unduly prejudiced as a result. See, e.g., ECF No. 52; Status Hearing (Oct. 29, 2024). 4

           10.      Given Mr. Ball’s incarcerated status at CTF in the District of Columbia, there are

various logistical challenges in obtaining Mr. Ball’s appearance before this Court within a

timeframe that would not further unduly delay the instant case or that would not needlessly delay

his D.C. case. Mr. Ball and his defense counsel have, accordingly, signed a Waiver of Appearance

at Arraignment, which accompanies this filing. When asked the government’s position as to Mr.

Ball waiving his appearance, AUSA Hamilton responded, “Our practice here is not to consent to

waive the defendant’s presence at arraignment unless (at the very least) he has previously appeared

in the district on an initial appearance on the same case, which Mr. Ball has not.” Email from

AUSA William Hamilton to Amy C. Collins on Dec. 16, 2024.

           11.      Accordingly, we would request that this Court schedule an arraignment in the

above-listed matter to take place in December 2024 (other than on December 17th-20th or

December 24th-26th) or January 2025 (other than on January 10th, January 17th, or January 20th-



4
    The transcripts for the October 29, 2024 status hearing have been requested.


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21st),5 to waive the appearance of Mr. Ball at the arraignment, and to enter an order compelling the

government to produce all discoverable materials and information in this matter by January 1,

2025.

         12.      As of the time of this filing, the government has not provided a position as to Mr.

Ball’s requests other than as already represented herein.

         WHEREFORE, for the foregoing reasons, Daniel Ball, by and through undersigned

counsel, requests the above-mentioned relief.




5
  If the Court’s availability does not allow for the requested timeline, we would ask that the Court set the arraignment
for the next date that the parties and the Court are available.


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                                                   Respectfully submitted,

                                                   _________/s/_______________
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                                                   Counsel for Daniel Ball


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 17th day of December 2024, I have served this Motion

upon all parties in this matter through the CM/ECF system.




                                                   _________/s/_______________
                                                   Amy C. Collins




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